                                                                             Exhibit B

                                                            TORT COMMITTEE’S PROFESSIONALS
                  (1)                (2)            (3) 6            (4) 7               (5)               (6)               (7)               (8)

                                                                    Total          Total Amount
                                   Final         Total Fees                                           U.S. Trustee       Fee Examiner      Total Amount
             Applicant                                            Expenses        Requested (Fees
                                   Period        Requested                                            Reductions          Reductions        Authorized
                                                                  Requested        and Expenses)

    Berkeley Research Group,       3/6/20-
                                                 $8,887,251.21     $18,348.47       $8,905,599.68         $3,668.25          $5,155.50        $8,896,775.93
    LLC                            4/19/23
                                  12/1/20-
    CBRE, Inc.                                   $1,482,500.00           $0.00      $1,482,500.00                $0.00             $0.00      $1,482,500.00
                                   4/19/23
                                   5/1/20-
    Jon R. Conte, Ph.D                              $13,943.75           $0.00           $13,943.75              $0.00         $500.00           $13,443.75
                                   5/31/20
                                  11/19/21-
    Mark H. Kolman                                  $35,500.00           $0.00           $35,500.00              $0.00             $0.00         $35,500.00
                                    5/1/23
    Pachulski Stang Ziehl &        3/4/20-
                                                $38,202,974.62   $1,177,896.27     $39,380,870.89     $1,410,924.60        $113,732.29       $37,856,214.00
    Jones LLP                      4/19/23
                                  5/12/20-
    Pasich, LLP                                  $3,413,531.60     $16,619.14       $3,430,150.74        $12,029.00        $269,477.76        $3,148,643.98
                                   4/19/23
                                  11/20/20-
    Rock Creek Advisors, LLC                     $1,029,446.00           $0.00      $1,029,446.00        $20,437.50         $59,291.00          $949,717.50
                                   5/31/23
                                   9/1/21-
    The Claro Group, LLC                         $1,840,878.55           $0.00      $1,840,878.55         $2,602.50          $7,588.00        $1,830,688.05
                                   3/31/22
    SUBTOTALS                                   $54,906,025.73   $1,212,863.88     $56,118,889.61     $1,499,661.85        $455,744.55       $54,213,483.21




6
    The amounts in Column 3 reflect the total fees requested by each Professional according to the Professional’s Final Fee Application.
7
    The amounts in Column 4 reflect the total expenses requested by each Professional according to the Professional’s Final Fee Application.
    This amount reflects the total amount of fees and expenses that are the subject of the U.S. Trustee’s Objection. At the hearing held on October 5, 2023, the
    Court took the U.S. Trustee’s Objection under advisement. To the extent the Court overrules the U.S. Trustee’s Objection in whole or in part, the affected
    Professionals will seek payment of the remaining outstanding fees that are the subject of the U.S. Trustee’s Objection.
